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VIA ECF
Hon. Ona T. Wang
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007-1312

           RE:            Authors Guild et al. v. OpenAI, Inc., et al., and Alter et al. v. OpenAI
                          Inc., et al., Nos. 1:23-cv-08292-SHS & 1:23-cv-10211-SHS

Dear Judge Wang:

Pursuant to Rule IV.a. of Your Honor’s Individual Practices, we submit this joint letter-motion to
seal on behalf of the Author Plaintiffs and the OpenAI Defendants (“OpenAI”) in the above-
captioned matter in connection with documents attached to and referenced in Plaintiffs’
contemporaneously filed letter briefs. These documents, and any associated redactions in
Plaintiffs’ briefing, reflect information that OpenAI produced in discovery and designated
confidential or highly confidential under the operative Protective Order.

Plaintiffs' Position on Sealing. Plaintiffs take no position on whether the redacted material
should remain under seal.

OpenAI’s Position on Sealing. For the reasons stated below and articulated in more detail in the
supporting declaration of Michael Trinh, OpenAI respectfully requests the Court grant this
motion to seal.

OpenAI moves to seal:

       1. Limited portions of Plaintiffs’ letter brief relating to Data Working Group issues and
          letter brief relating to OpenAI’s corporate structure that reference or summarize
          confidential materials;
       2. Exhibit 2 to Plaintiffs’ letter brief relating to Data Working Group issues and Exhibits
          E and F to Plaintiffs’ letter brief relating to OpenAI corporate structure, which
          contain business information or communications that have been designated as
          confidential or highly confidential pursuant to the Protective Order in this case (ECF
          No. 148).

        OpenAI’s proposed redactions and sealing are consistent with the Second Circuit’s
opinions in Lugosch v. Pyramid Company of Onondaga, 435 F.3d 110 (2d Cir. 2006), and
Bernstein v. Bernstein Litowitz Berger & Grossman LLP, 814 F.3d 132 (2d Cir. 2016). Pursuant
to Lugosch, the Court must first assess whether the documents at issue are “judicial documents”
to determine whether the presumption in favor of public access in filings applies at all. 435 F.3d
at 119. Documents “simply passed between the parties in discovery” are not judicial documents
and “lie beyond the presumption’s reach.” Brown v. Maxwell, 929 F.3d 41, 49-50 (2d Cir. 2019)
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(internal quotation marks omitted); see Bernstein, 814 F. 3d at 142 (documents “such as those
passed between the parties in discovery often play no role in the performance of Article III
functions and so the presumption of access to these records is low” (internal quotation marks
omitted)). This remains true even where the Court must assess those documents in the context of
a discovery motion. See Nespresso USA, Inc. v. Williams-Sonoma, Inc., No. 19-cv-4223-LAP-
KHP, 2021 WL 1812199, at *1 (S.D.N.Y. May 6, 2021) (granting motion to seal portions of
letter brief referencing information passed between the parties in discovery and exhibits
designated under parties’ protective order).

         Where documents are submitted to the Court pursuant to a confidentiality agreement, the
Second Circuit has held that it is “presumptively unfair for courts to modify protective orders
which assure confidentiality and upon which the parties have reasonably relied.” Uni-Systems,
LLC v. United States Tennis Ass’n, Inc., No. 17-cv-147-KAM-CLP, 2020 WL 8266015, at *8
(quoting S.E.C. v. TheStreet.Com, 273 F.3d 222, 230 (2d Cir. 2001)). Moreover, “the
presumption of public access in filings submitted in connection with discovery disputes . . . is
generally somewhat lower than the presumption applied to material introduced . . . in connection
with dispositive motions.” Brown v. Maxwell, 929 F.3d 41, 50 (2d Cir. 2019). While the Court
“‘must still articulate specific and substantial reasons’ for sealing material filed in connection
with a discovery dispute, ‘the reasons usually need not be as compelling as those required to
seal’ filings connected to a dispositive motion.” Rand v. Travelers Indem. Co., No. 21-CV-10744
(VB)(VF), 2023 WL 4636614, at *2 (S.D.N.Y. July 19, 2023) (quoting Brown, 929 F.3d 41, 50).

        In this matter, Defendants have designated as highly confidential sensitive information
related to OpenAI’s business practices, the disclosure of which would harm OpenAI’s
competitiveness in a nascent and highly competitive market. Such information is routinely
deemed confidential and filed under seal by the Courts. See IBM Corp. v. Micro Focus (US),
Inc., No. 22-CV-9910 (VB)(VR), 2024 WL 495137, at *1 (S.D.N.Y. Feb. 8, 2024) (“Courts in
this District routinely permit parties to seal or redact commercially sensitive information to
protect confidential business interests and financial information.”).

        Exhibits 2, E, and F (and the accompanying portions of Plaintiff’s letter motions citing
excerpts from those documents) comprise confidential communications and documents relating
to two categories of information: (i) communications, under NDA, between OpenAI employees
and Microsoft about business strategy (Ex. No. 2);1 and (ii) documents describing OpenAI’s
organizational structure and organizational agreement (Ex. Nos. E and F).2 See Declaration of
Michael Trinh ¶¶ 3-5. OpenAI treats each category of documents as confidential or highly
confidential—it does not generally disclose similar documents to the public. See id. Any
portions of Plaintiffs’ letter motions summarizing or quoting the content of these highly sensitive
documents should also be sealed as reflecting OpenAI’s confidential business information.




1 OPCO_SDNY_0012381.

2 OPCO_SDNY_0000186; OPCO_SDNY_1463171.
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        Similar documents revealing confidential business information are regularly sealed by
other courts in this District. See Kewazinga Corp. v. Microsoft Corp., No. 1:18-cv-4500-GHW,
2021 WL 1222122, at *7 (S.D.N.Y. Mar. 31, 2021) (sealing “confidential and proprietary data
collection procedures”); Louis Vuitton Mallatier S.A. v. Sunny Merch. Corp., 97 F. Supp. 3d 485,
511 (S.D.N.Y. 2015) (sealing “business information and strategies, which, if revealed, may
provide valuable insights into a company’s current business practices that a competitor would
seek to exploit” (internal quotation marks omitted)). The information contained in these
documents and mirrored or summarized in Plaintiffs’ letter motions could be used by
competitors to unfairly compete with OpenAI, in that they would be given access to the
information that would not otherwise be available to them. This risk is elevated in the highly
competitive field of artificial intelligence—OpenAI is at the forefront of developing and
employing new products and software, and any disclosure of related information could be
exploited by other players in the space. Thus, if not sealed, disclosure could pose serious risk of
competitive harm.

        Accordingly, in order to maintain the confidential nature of this information, OpenAI
respectfully requests the Court grant this motion to seal.

Sincerely,

MORRISON & FOERSTER LLP
/s/ John Lanham
John Lanham

KEKER, VAN NEST & PETERS LLP
/s/ Christopher Sun
Christopher Sun

LATHAM & WATKINS LLP
/s/ Elana Nightingale Dawson
Elana Nightingale Dawson

SUSMAN GODFREY LLP
/s/ Rohit Nath
Rohit Nath

LIEFF CABRASER HEIMANN & BERNSTEINS LLP
/s/ Rachel Geman
Rachel Geman
